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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
 RCH:AXB/LAZ                                         610 Federal Plaza
 F. #2022R01030                                      Central Islip, New York 11722


                                                     August 16, 2024

 By ECF

 The Honorable Joanna Seybert
 United States District Judge
 Eastern District of New York
 610 Federal Plaza
 Central Islip, New York 11722

                Re:    United States v. Devolder Santos
                       Criminal Docket No. 23-197 (S-2) (JS)

 Dear Judge Seybert:

                The government respectfully submits this letter on behalf of all parties in the
 above-captioned matter to request that the Court schedule an in-person conference on Monday,
 August 19, 2024, or as soon thereafter as the Court is available. In addition, the parties jointly
 request that the Court extend the defendant’s deadline for filing a response to the government’s
 motions in limine from August 16, 2024, until August 21, 2024, and the parties’ deadline to
 exchange lists of witnesses and exhibits and disclose materials pursuant to 18 U.S.C. § 3500
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 and Federal Rule of Criminal Procedure 26.2 from August 19, 2024, until Friday, August 23,
 2024, pending the completion of the aforementioned in-person conference.

                                                  Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:      /s/
                                                 Ryan C. Harris
                                                 Anthony Bagnuola
                                                 Laura Zuckerwise
                                                 Assistant U.S. Attorneys

                                                 COREY R. AMUNDSON
                                                 Chief, Public Integrity Section
                                                 U.S. Department of Justice

                                          By:      /s/
                                                 Jacob R. Steiner
                                                 John P. Taddei
                                                 Trial Attorneys

 cc:   Clerk of the Court (JS) (by ECF)
       Counsel of Record (by ECF)




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